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                                IN THE UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       )
                                               )
       v.                                      )       CRIMINAL NO. 21-177 (CRC)
                                               )
                                               )
DANIEL D. EGTVEDT.                             )

        MOTION FOR TEMPORARY MODIFICATION OF PRETRIAL RELEASE CONDITIONS

       COMES NOW Kira Anne West, counsel for Mr. Daniel D. Egtvedt in the above captioned

case, and asks this Honorable Court to order a temporary modification in pretrial release

conditions and in support states the following:

       As this Court knows, Mr. Egtvedt is charged with numerous counts, both misdemeanors

and felonies, in the January 6, 2021, riot at the Capitol. This case is set for trial June 6, 2022.

       Mr. Egtvedt respectfully requests that this Court order pretrial services to allow him to

meet with undersigned counsel to review discovery at a law firm March 16 and March 17, 2022

in Fairfax, Virginia. This would require the defendant to spend the night at a hotel in Fairfax,

Virginia. Undersigned counsel contacted Pretrial Officer Jeremy Beck who does not oppose this

motion, but requires a court order for Mr. Egtvedt to spend the night in a hotel in Fairfax. The

Court may remember that Mr. Egtvedt lives in Garrett County, Maryland and the drive to meet

with his attorney in Fairfax, Virginia, at a law firm is at least a 3 hour drive. Therefore,

defendant files this request.

                                               Respectfully submitted,

                                               KIRA ANNE WEST

                                       By:               /s/
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                                   CERTIFICATE OF SERVICE

        I hereby certify on the 14th day of March, 2022 a copy of same was delivered to the
parties of record, by ECF pursuant to the rules of the Clerk of Court.
                                                       /S/
                                                    Kira Anne West
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